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                     UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS




BYRON JONES,

            Petitioner,



V.                                              Criminal Action
                                                No.   12-10084-PBS
UNITED STATES OF AMERICA,

            Respondent.




                          MEMORANDUM AND      ORDER


                             April 9,    2019

Saris,   C.J.

                              INTRODUCTION


     Pro se petitioner Byron Jones moves under 28 U.S.C. § 2255

to challenge his conviction for drug trafficking on grounds of

ineffective assistance of counsel. After a            review of the record,

the Court DENIES the motion     (Dkt.   No.   214).

                  FACTUAL AND PROCEDURAL BACKGROUND


         In January 2012, Jones was indicted on drug trafficking

charges involving cocaine and cocaine base. The amount of

cocaine base triggered a ten-year mandatory minimum under 21

U.S.C. § 841(b)(1)(A). The government also filed an information

notifying Jones of its intent to seek an enhanced mandatory
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penalty based on a prior felony drug conviction pursuant to 21

U.S.C.       §    851.


       At his initial appearance, the magistrate judge appointed

Michael Natola as counsel for Jones.                 Fifteen days later,            Jones

moved to replace Natola for failing to speak to his family to

gather relevant information before his bond hearing. After a

hearing,          the judge relieved Natola and appointed Edward Lee as

new counsel.             In August 2012, Jones again moved for new counsel,

this time because Lee was not communicating with him. After

another hearing,            a third attorney,      Daniel Cloherty, was

appointed in September. Throughout this period,                       the magistrate

judge excluded time under the Speedy Trial Act to permit the

parties to exchange discovery and to hear Jones's two motions

for    new       counsel.


        On March 15,          2013,   Cloherty filed a motion to withdraw,

citing an irreparable breakdown of his relationship with Jones.

The Court held an ex parte hearing and found no irreparable

breakdown.          The   Court   informed Jones    that   he   had   to   choose


between proceeding with Cloherty and proceeding pro se with

Cloherty as standby counsel. Although Jones indicated an

intention to proceed pro se,               he refused to participate in the

waiver of counsel colloquy. At another ex parte hearing on April

3,    2013,       the Court learned that Jones and Cloherty's

disagreement involved a motion to suppress and a motion for
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reconsideration of detention. After the second ex parte hearing,

Jones elected to proceed pro se on these motions with Cloherty

as standby counsel. During the waiver colloquy, Jones indicated

that he knowingly and voluntarily decided to proceed pro se. He

also signed a waiver of counsel form.

      On April 22, 2013, Jones filed a pro se motion to suppress.

Cloherty acted as standby counsel at the evidentiary hearing.

The Court denied the motion to suppress and a motion for

reconsideration. Raising Speedy Trial Act concerns,          Jones also

filed a pro se motion to reconsider the Court's order continuing

his   detention.


       After the denial of his motion to suppress,        Jones,

represented by Cloherty, agreed to plead guilty to all five

counts in exchange for a withdrawal of the § 851 petition. His

plea agreement contained a waiver of his right to challenge his

conviction or a sentence of 188 months or less on direct appeal

or collaterally. During the plea colloquy, the Court had the

following exchange with Jones:

       THE COURT: Have you been satisfied with the
       representation of your counsel?

       JONES:   Yes.


       THE COURT:      And I   know that there have been certain
       points where you've decided to go pro se, but since we
       are now at the plea colloquy stage, are you satisfied
       with his representation of you throughout the plea
       colloquy and leading up to this plea agreement?
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      JONES:   Yes.


      THE COURT: All right. Are you in any way feeling
      pressured into pleading guilty? Has anyone made
      threats against you?

      JONES:   No.


      THE COURT: Anyone that - do you feel as if your
      lawyer's pressuring you and you really want to go to
      trial?


      JONES:   No.


Dkt. No.    171 at 9. The Court also reviewed the appellate waiver.

The Court accepted Jones's guilty plea and sentenced him to a

term of imprisonment of 135 months.^

      On appeal,      Jones,   represented by a fourth attorney, argued

that his guilty plea was not knowing and voluntary and raised

two challenges to the Court's guideline calculations. See United

States V.    Jones,    778 F.Sd 375,   381-86    (1st Cir.      2015).   Jones

also filed a pro se brief arguing that the Court should have

allowed Cloherty's motion to withdraw as counsel and that his

waiver of the right to counsel was invalid.                 See id. at 386-89.

The First Circuit rejected all of these arguments and affirmed

his   conviction and sentence.       See id.    at   390.


      On June 20,      2016,   Jones moved to vacate his sentence

pursuant to 28 U.S.C. § 2255.          Jones argues that his guilty plea



^    On May 17, 2017, the Court reduced Jones's sentence to 120
months pursuant to 18 U.S.C. § 3582(c)(1) and Amendment 782 to
the Sentencing Guidelines.
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was not knowing and voluntary because Cloherty rendered

ineffective assistance of counsel in four ways:               1)   incorrectly

telling him that he could not argue at trial that he had no

connection to the apartment where the drugs were found since he

testified to the contrary at the suppression hearing;

2) operating under a conflict of interest that caused Cloherty

to fail to file motions to reconsider the Court's orders denying

the motion to suppress and to withdraw the guilty plea;

3)   failing to move to suppress or move to reconsider the Court's

denial of his motion to suppress on the basis that the officers

executing the search did not leave him a complete copy of the

search warrant in violation of Federal Rule of Criminal


Procedure 41(f)(1)(C); and 4)       failing to advise him of his

rights under the Speedy Trial Act and to move to dismiss on this

basis.


                                 DISCUSSION


I.     Standard of Review


       A federal criminal defendant "may petition for post-

conviction relief under 28 U.S.C.       § 2255(a)    if,      inter alia,    the

individual's sentence      ^was imposed in violation of the

Constitution or laws of the United States'          or       ^is otherwise


subject to collateral attack.'" Lassend v. United States, 898

F.3d 115, 122    (1st Cir. 2018)    (quoting 28 U.S.C. § 2255(a)). "A

claim of ineffective assistance of counsel .             .   . may be raised
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by means of a section 2255 motion." Rivera-Rivera v. United

States,   844 F.3d 367,          372   (1st Cir.    2016). The defendant bears

the burden of establishing his entitlement to relief. Lassend,

898   F.3d a t    122.


       ^^Evidentiary hearings on § 2255 petitions are the

exception,       not the norm," and the defendant bears ""a heavy

burden . . . to demonstrate that an evidentiary hearing is

warranted." Moreno-Morales v.              United States,         334 F.3d 140,        145

(1st Cir.      2003). The court need not hold an evidentiary hearing

if the petition ^'(1)           is inadequate on its face,              or   (2)   although

facially adequate,            is conclusively refuted as to the alleged

facts by the files and records of the case." Id.                         (quoting United

States V.      DiCarlo,       575 F.2d 952,   954    (1st Cir.      1978)). Because

the   record     in t h i s   case   demonstrates    that   all    of    Jones's     claims


lack merit,       the Court declines to hold an evidentiary hearing.

II.    Waiver of Appellate Rights

       The Government first argues that Jones waived his right to

bring these claims in his plea agreement.2




2    The Government raises Jones's appellate waiver only in a
footnote. Jones correctly points out that the Court could find
that the Government waived its waiver argument by relegating i t
to a footnote, but i t is a meritorious argument for some of his
claims.
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      A.    Legal Standard

      Under the First Circuit's Teeter test,          an appellate or

collateral-attack waiver is enforceable i f          (1)   ^^the waiver's

scope was clearly delineated";        (2)   ^'the district court

specifically inquired about the waiver of appellate rights"; and

(3)   denial of the ability to bring a specific challenge would

not "constitute a miscarriage of justice." United States v.                 Del

Valle-Cruz,    785 F.Sd 48,   54   {1st Cir. 2015)    (citing United

States V. Teeter,      257 F.Sd 14, 24-25      (1st Cir. 2001)). An appeal

or collateral attack is barred if i t falls within the scope of a

valid waiver.     See United States v. Gonzalez-Colon,         582 F.Sd 124,

127   (1st Cir.   2009).

      B.    Analysis

      As the first two prongs of the Teeter test aim to ensure,

Jones "freely and intelligently agreed to waive             [his]   right to

appeal." Del Valle-Cruz,      785 F.Sd at 54      (alteration in original)

(quoting Teeter,     257 F.Sd at 24). His plea agreement specified

the scope of the waiver in five clear paragraphs. By signing the

plea agreement,     Jones affirmed that he had discussed with his

attorney his right to challenge his conviction and sentence on

appeal and via collateral attack,           including via a § 2255 motion.

The waiver itself was unambiguous:          "Defendant waives any right

he has to challenge his conviction on direct appeal or in a
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collateral challenge." Dkt. No. 139 ^ 6{b). It also stated what

challenges Jones reserved the right to bring.

       The Court adequately inquired about the appellate waiver

during the change of plea hearing:

       THE COURT: The first thing is, have you had a chance, Mr.
       Cloherty, to go through the waiver of rights to appeal and
       to bring collateral challenge?

       JONES:   Yes.


       MR.   CLOHERTY:    I   have,   your Honor.

       THE COURT: And have you read those paragraphs?

       JONES:   Yes.


       THE COURT:      Essentially,     you've agreed that you will not
       file a direct appeal or collaterally challenge any
       imprisonment sentence of 188 months or less. Do you
       understand that?


       JONES:   Yes.


       THE COURT: And that there are also many additional
       restrictions on your right to appeal or bring collateral
       challenge. Do you understand that?

       JONES:   Yes.


Dkt. No. 171 at 10-11. This inquiry ''ensure [d]          an intelligent

waiver." United States v. Villodas-Rosario,            901 F.3d 10, 15    (1st

Cir.   2018).

       Since Jones intelligently and voluntarily agreed to the

waiver in his plea agreement, his claims are barred unless 1)              a

claim falls outside the waiver's scope or 2)            enforcing the

waiver would constitute a miscarriage of justice. As to the



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scope of the waiver,      Jones reserved the right to claim only that

his attorney ^^was ineffective in connection with the negotiation

of    [the] plea agreement or the entry of the guilty plea." Dkt.

No.   139 SI 6(e).   Such a claim might trigger the miscarriage of

justice exception in any event.           See United States v. Ortiz-Vega,

860 F.3d 20,    28   (1st Cir.   2017).    Jones's claims that Cloherty

provided incorrect legal advice about the consequence of his

testimony at the suppression hearing, operated under an actual

conflict of interest, and failed to advise him of his speedy

trial rights arguably relate to the entry of the guilty plea and

therefore fall outside the scope of the waiver.

       To the extent Jones argues that Cloherty was ineffective

for failing to file motions to suppress,            reconsider the denial

of his pro se motion to suppress,           and dismiss the indictment on

speedy trial grounds,      these claims do not arise out of the

negotiation of the plea agreement or the entry of the guilty

plea and are thus barred by the collateral-attack waiver. A

defendant   can waive     ineffective assistance of counsel        claims


that are unrelated to the guilty plea.            United States v. White,

307 F.3d 336,    341-43    (5th Cir.   2002)    (collecting cases and

holding "that an ineffective assistance of counsel argument

survives a waiver of appeal only when the claimed assistance

directly affected the validity of that waiver or the plea

itself");   see also United States v.          Torres-Estrada,   817 F.3d
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376,    378       (1st Cir. 2016)        (holding that the defendant had waived

his right to raise an ineffective assistance of counsel claim).3

Jones suggests that his guilty plea was not knowing or voluntary

because of Cloherty's failure to file these motions.                            Such an

argument would make the waiver a nullity. As the Court finds no

miscarriage of justice in enforcing the waiver,                           Jones's claims

relating to these pretrial motions are barred.

Ill.    I n e f f e c t i v e Assistance o f Counsel


       A.         Legal Standard

       When        a    criminal    defendant       asserts   that   he   received


ineffective assistance of counsel in deciding to plead guilty,

he must demonstrate that "(1)                   ^counsel's representation fell

below an objective standard of reasonableness,'                           and   (2)   ^there

is a reasonable probability that, but for counsel's errors                               [he]

would not have pleaded guilty and would have insisted on going

to t r i a l . ' " United States v.            Luis Rivera-Cruz,          878 F.3d 404,    410

(1st Cir.          2017)       (citation omitted)        (quoting Hill v. Lockhart,

474 U.S.          52,    57,   59   (1985)).   '^'[F]ailure to satisfy one

prong .       .    . obviates the need for a court to consider the



3    There is a split among circuits as to whether a general
waiver of appeal rights bars ineffective assistance of counsel
claims related to sentencing. See In re Sealed Case, 901 F.3d
397, 404 (D.C. Cir. 2018) (collecting cases and adopting the
minority view that a general waiver does not bar such claims).
All    of   Jones's        claims    relate    to    events   that   occurred before
entry of his guilty plea.


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remaining prong." Tevlin v. Spencer,              621 F.3d 59,     66    (1st Cir.

2010). The court may consider either prong first in the interest

of efficiency. Ortiz-Graulau v. United States, 756 F.3d 12, 17

(1st Cir.    2014).

       Under the performance prong,            the defendant must show that,

^^given the facts known at the time, counsel's choice was so

patently unreasonable that no competent attorney would have made

it." Rivera v.     Thompson,       879 F.3d 7,    12   (1st Cir.   2018)       (quoting

Knight v.    Spencer,    447 F.3d 6,     15    (1st Cir.   2006)).      This

analysis covers all of the circumstances surrounding the

challenged conduct or decision and requires ''evaluating the

attorney's conduct        'from counsel's perspective at the time'                 and

in light of     'prevailing professional norms.'" Id.              (quoting

Strickland v. Washington,           466 U.S.    668,   688-89   (1984)).       Review

of counsel's performance is "highly deferential" and subject to

"a strong presumption that [it]           falls within the wide range of

reasonable professional assistance." Strickland, 466 U.S. at

689. A defendant faces an especially high burden in challenging

counsel's tactical decisions.           See Lucien v.      Spencer,      871 F.3d

117,   129   (1st Cir.    2017).

       The prejudice prong requires the defendant to establish a

reasonable probability, meaning "substantial, not just

conceivable," that he would not have pleaded guilty but for

counsel's errors.        Williams v.    United States,      858 F.3d 708,         715


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{1st Cir. 2017)        (quoting Rivera-Rivera v. United States,             827

F.3d 184,      187   (1st Cir.   2016)). Reasonable probability is not

quite the same as the more-likely-than-not standard, but the

difference is ''slight." Harrington v. Richter,               562 U.S.     86,    111-

12   (2011).    In undertaking the prejudice analysis,             courts do not

rely solely on "post hoc assertions from a defendant about how

he would have pleaded but for his attorney's deficiencies."

Lee V. United States,        137 S. Ct. 1958,      1967    (2017). Rather,        they

"look to contemporaneous evidence to substantiate                  [his]

expressed preferences." Id. When the defendant's "decision about

going to trial turns on his prospects of success and those are

affected by the attorney's error," he must also show that he

"would have been better off going to trial." Id. at 1965.

      B.       Analysis

      With these principles in mind, this Court turns to Jones's

ineffective assistance claims. As Jones is proceeding pro se,

the Court interprets his motion liberally. See Butterworth v.

United States,       775 F.3d 459,    469    (1st Cir.    2015).

               1.    Incorrect Advice Regarding the Consequences of
                     His Suppression Hearing Testimony

      Jones alleges that he entered a guilty plea unknowingly

because Cloherty incorrectly informed him that, after testifying

at the suppression hearing that he lived part-time at the

apartment where the officers executed the search, he could not



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testify at trial that he had no connection to that apartment.

Jones is correct that the government would not have been able to

use his testimony from the suppression hearing on the question

of guilt or innocence at trial. See Simmons v. United States,

390 U.S.    377,   394    (1968). However, even assuming Cloherty

provided misinformation on this point, Jones has not

demonstrated that he would not have pleaded guilty but for the

alleged error.

     First,    the Court advised Jones at the ex parte hearing on

April 3, 2013 of the law on this issue. Specifically, the Court

explained that the government could use his suppression hearing

testimony to impeach him at trial if he chose to testify, though

i t could not rely on the substance of his earlier testimony.               See

United States v.         Smith,   940 F.2d 710,   713   (1st Cir.   1991)

(suggesting that the defendant's testimony at a preliminary

hearing could be "used against him for impeachment purposes at

trial"). With this explanation, i t is unlikely that Cloherty's

advice to the contrary caused him to plead guilty when he

otherwise    would not      have.


     Second, both before his guilty plea and in his § 2255

motion,    Jones has repeatedly expressed that he wanted to proceed

to trial to preserve his right to challenge the denial of his

motion to suppress. See, e.g.,           Dkt. No.   170 at 11   ("[M]y concern

is later on for appeal because I           know when you raise things on

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appeal, the first thing they're going to blame is me. They're

going to say I didn't object,           I didn't raise it."); Dkt. No.

215-1,   Ex.    1 SI 14        informed Mr. Cloherty that I was unwilling

to plead guilty and forego my rights to appeal the suppression

issues.");      id.   SI 17   (^^Even though Mr. Cloherty informed me that

I had forfeited my defense at trial;           I, nonetheless,   still was

willing to proceed to trial in order to appeal the Court's

adverse rulings I have specifically preserved for appeal.").

With this expressed motivation,           Jones more likely decided to

accept the plea agreement rather than bank on a favorable ruling

on the motion to suppress because the government dropped the

§   851 enhancement.


               2.     Motion to Suppress and Motion for Reconsideration

       Jones argues that his guilty plea was involuntary because

Cloherty was ineffective for not moving to suppress the fruits

of the search based on the failure of the officers executing the

search to leave a complete copy of the warrant and for not

moving for reconsideration of the Court's rejection of his pro

se motion to suppress raising this argument. As previously

noted, this argument is barred by his collateral-attack waiver.

Even if i t were not barred,          this argument is without merit.

       Jones does not challenge that he knowingly and voluntarily

waived his right to counsel and decided to proceed pro se with

his suppression motion with Cloherty as standby counsel. Since

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he had no constitutional right to standby counsel for his

suppression motion, see United States v. Woodward,                 291 F.3d 95,

110    (1st Cir.     2002),   i t is doubtful he can raise an ineffective

assistance of counsel claim based on Cloherty's failures as

standby counsel,        see, e.g..      United States v. Windsor,     981 F.2d

943,   947    (7th Cir.    1992).    But see United States v.      Pina,    844

F.2d 1,      6-7    (1st Cir. 1988)     (leaving open the possibility that a

defendant      could raise an ineffective assistance of counsel                 claim


concerning standby counsel).

       Even assuming Cloherty's conduct in failing to file these

two motions was constitutionally deficient,             Jones cannot show

prejudice because the Court allowed him to file pro se motions

that raised the exact argument he says Cloherty should have

raised.      The Court rejected his arguments,        and there is no reason

to believe the outcomes would have been different had Cloherty

drafted the motions instead. With no plausible difference in

outcome,      Jones has not demonstrated a reasonable probability

that he would have proceeded to trial had Cloherty filed these

motions.


               3.     Conflict o f I n t e r e s t


       Jones claims that Cloherty had an ^'actual conflict of

interest" that rendered his representation ineffective.                    To

prevail on such a claim,            Jones ^^must show that   (1)   the attorney

could have pursued a plausible alternative defense strategy,                      and


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(2)   the alternative strategy was inherently in conflict with or

not undertaken due to the attorney's other interests or

loyalties." United States v. Cardona-Vicenty,                     842 F.3d 766, 772-

73 {1st Cir. 2016)        (quoting Familia-Consoro v. United States,

160 F.3d 761,      764   (1st Cir. 1998)).

        Jones's   claim f a i l s   on both counts.        His   two   alternative


defense strategies,        a motion for reconsideration of the order

denying his motion to suppress and a motion to withdraw his

guilty plea, do not have ^^sufficient substance" to have been

^Viable alternative[s]." Id. at 773                (quoting Brien v. United

States,    695 F.2d 10,      15     (1st Cir.    1982)).    Jones himself filed

his desired motion for reconsideration,                and the Court denied i t .

And a motion to withdraw his guilty plea based on the incorrect

advice he allegedly received from Cloherty concerning his

ability to argue at trial that he had no connection to the

apartment would have failed for the reasons discussed above.

        Jones also does not point to any specific conflict that

caused Cloherty not to pursue these alternative defense

strategies. He alleges that Cloherty wanted him to enter a

guilty plea and made no effort to carry out his wish to go to

trial. A defense attorney is not in conflict with his client

where he gives ^^customary encouragement to his client — even

strong encouragement — to avoid a trial by entering into a" plea

deal.    United States v.         Seqarra-Rivera,     473 F.3d 381,        386   (1st


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Cir. 2007). Accordingly, to prevail on this claim, Jones must

show ^^more than a mere disagreement" with Cloherty or

^^professional negligence" on Cloherty's part.            Id. at 385

(remanding for an evidentiary hearing where the defendant

alleged that his attorney coerced him into pleading guilty by

engaging in unethical behavior to conceal the fact that he was

unprepared for trial).

       Jones provides no reason to believe any conflict with

Cloherty went beyond mere disagreement on strategy. Given the

flurry of documents that Cloherty filed in the days before Jones

entered his plea, see Dkt. No. 126 (motion in limine regarding

Jones's prior arrest and conviction); Dkt. No.             127   (motion to

exclude video evidence);      Dkt. No.      128   (proposed voir dire);    Dkt.

No.   129   (proposed jury instructions),         Jones's allegation that

Cloherty coerced him into pleading guilty because he was

unprepared for trial has no merit. And during the plea colloquy,

Jones confirmed that he was satisfied with Cloherty's

representation and denied feeling pressured into accepting the

plea. See United States v.      Santiago Miranda,        654 F.Sd 130, 138

(1st Cir.    2011)   (noting that courts should accept the veracity

of statements made by a criminal defendant at a plea colloquy

unless he provides independent corroboration that the statement

was not true). Without a specific conflict to point to,                Jones's

claim of a    conflict of   interest   fails.


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             4.      Speedy Trial

     Finally,       Jones argues that Cloherty was ineffective in

failing to file a motion to dismiss under the Speedy Trial Act

and advise him of his speedy trial defense. Even assuming

ineffective performance on this basis,             Jones cannot demonstrate

prejudice because he raised this defense multiple times before

pleading guilty.

     Jones submitted a letter to the magistrate judge on

November 2,       2012 indicating that he had not agreed to his two

prior attorneys' consent to exclude time under the Speedy Trial

Act. The magistrate judge treated this letter as a motion and

denied i t because the exclusions were warranted to allow for


discovery and permit Jones to twice seek, new counsel.              Jones also

moved for    reconsideration of this Court's denial of his motion


to revoke his detention on April 11, 2013, which raised Speedy

Trial Act    concerns.    The Court did not    rule on this motion before


Jones pled guilty on June 19,        2013.

     These    two motions    demonstrate t h a t    Jones   suffered no


prejudice from Cloherty's allegedly ineffective representation.

The magistrate judge considered Jones's Speedy Trial Act defense

and rejected it,       and Jones does not indicate why the result

would have been any different had Cloherty filed the motion

instead.    Furthermore,    since Jones filed these two motions

himself,    i t is clear he was aware of the Speedy Trial Act when

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he decided to plead guilty.         Jones cannot show a reasonable

probability that he would have decided to go to trial had

Cloherty advised him of a defense of which he was already aware

                                     ORDER


       For the foregoing reasons,       Jones's motion to vacate his

conviction under 28 U.S.C.      §    2255    (Dkt.   No.   214)    is DENIED.

SO   ORDERED.




                                       /s/ Patti B.        Saris
                                      HON.   PATTI    B.   SARIS
                                      Chief U.S.      District Judge




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